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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
 ________________________________________
                                                )
 FATMA MAROUF AND BRYN ESPLIN,                  )
 a married couple,                              )
                                                )
                                                )
                                                )
                           Plaintiffs,          )
                                                )
                            v.                  ) Case No. 1:18-cv-378 (APM)
                                                )
 XAVIER BECERRA, in his official capacity as )
 Secretary of the U.S. Department of Health and )
 Human Services, et al.,                        )
                                                )
                                                )
                           Defendants.          )
                                                )
 ________________________________________ )

                                   JOINT STATUS REPORT

       On January 18, 2022, the Court entered a minute order continuing the stay of proceedings;

setting a schedule for limited discovery and summary-judgment briefing; and ordering the Parties

to file by April 8, 2022, a joint status report advising “whether the updated consortium model is in

effect and whether any adjustment to the schedule is warranted.” The Parties have met, conferred,

and state as follows:

       1.      Federal Defendants can confirm that the consortium model became operational on

Monday, March 28, 2022.

       2.      On April 1, 2022, Federal Defendants served supplemental discovery. This

included supplemental interrogatory responses and 27 additional documents.




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       3.      On April 6, 2022, the Parties conferred telephonically on the limited discovery to

be conducted from April 15 to May 15. The conversation was productive, and the Parties expect

that they can conduct this limited discovery without intervention from the Court.

       4.      The Parties agree that no adjustment to the current schedule is warranted.


 Dated: April 8, 2022                               Respectfully submitted,

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